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 1 COSCA LAW CORPORATION
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 3 (916) 440-1010

 4 Attorney for Defendant
   FILEMON PADILLA-MARTINEZ
 5

 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-0159 MCE

10                                 Plaintiff,           STIPULATION AND ORDER TO CONTINUE
                                                        JUDGMENT AND SENTENCING
11                            v.
                                                        DATE: April 2, 2020
12   FILEMON PADILLA-MARTINEZ,                          TIME: 10:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
13                                 Defendant.

14

15

16                                              STIPULATION

17          1.     By previous order, this matter was set for Judgment and Sentencing on April 2, 2020.

18 However, defense counsel needs additional time to address status of counsel issues and properly prepare

19 a response to the PSR.

20          2.     Accordingly, by this stipulation and with the consent of the probation officer, the parties

21 now move to continue the Judgment and Sentencing to June 25, 2020 with the following schedule:

22
     Judgment and Sentencing Date:                                                              June 25, 2020
23
     Reply, or Statement of Non-Opposition:                                                     June 18, 2020
24
   Formal Objections to the Presentence Report shall be filed with the Court
25 and served on the Probation Officer and opposing counsel no later than:                      June 11, 2020

26 The Presentence Report shall be filed with the Court and disclosed to counsel no
   later than:                                                                                  June 4, 2020
27

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      STIPULATION AND ORDER                             1
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   Counsel's written objections to the Presentence Report shall be delivered to the
 1 Probation Officer and opposing counsel no later than:                                       May 28, 2020
 2 IT IS SO STIPULATED.

 3
     Dated: March 2, 2020                                   /s/ Adrian Kinsella
 4                                                          ADRIAN T. KINSELLA
                                                            Assistant United States Attorney
 5

 6
     Dated: March 2, 2020                                   /s/ Chris Cosca
 7                                                          CHRIS COSCA
 8                                                          Counsel for Defendant
                                                            FILEMON PADILLA-
 9                                                          MARTINEZ

10

11
                                                    ORDER
12
            IT IS SO ORDERED.
13
     Dated: March 5, 2020
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      STIPULATION AND ORDER                             2
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